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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :       Case No. 21-CR-175 (TJK)
                                               :
ETHAN NORDEAN, et al.                          :
                                               :
                       Defendants.             :

                      UNITED STATES’ CONSENT TO CONTINUE TRIAL

       Earlier today, Defendants Biggs and Pezzola moved this Court to continue the trial of this

matter from August 8, 2022, until December 12, 2022, or until the earliest date thereafter. ECF

403 (hereinafter, the “Motion”). For the reasons outlined briefly herein, the government consents

to the relief sought in defendants’ Motion, provided that all defendants in this case are tried

together.

       Biggs’s and Pezzola’s Motion cites the release of transcripts from the House Select

Committee as a basis for continuing the trial. 1 They note that “[t]hose transcripts are important . .

. to have and review before trial—not during or after.” The government concurs with this

assessment. The timing of the anticipated release will prejudice the ability of all parties to prepare

for trial because the parties are currently unable to account for the content of those transcripts with

respect to their respective cases. The government also submits herewith, for the Court’s

consideration, a letter that was sent by the Department of Justice to the House Select Committee

yesterday, June 15, 2022. As represented during our last hearing, the Department of Justice has



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       While the government agrees that the timing of the hearings may prejudice the defendants,
the government does not agree that the substance of the hearings will necessitate a change of venue.
Twenty million people across the United States watched the hearings; any potential prejudice is
untethered to any specific geographic location with access to television or the internet.
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neither access to the transcripts, nor the ability to compel Congress, a co-equal branch of

government, to provide copies of the transcripts. While we do not know precisely when copies of

the transcripts will be released, if they are released as currently anticipated in early September

2022, the parties to this trial will face unique prejudice because the jury for the August 8 trial will

have already been sworn and jeopardy will have already attached.

       In consenting to the motion to continue, the government does not consent and will oppose

any motion to sever any of the defendants from a trial in this matter. As this Court has held,

“[s]everance is a proper remedy only when the defendant has met the ‘heavy burden’ of showing

that joinder would violate his constitutional rights. The defendant must show that the threatened

prejudice is of a type that requires severance, and no less intrusive alternative.” ECF 339, quoting

United States v. Gray, 173 F. Supp. 2d 1, 7 (D.D.C. 2001). The government’s position is that Biggs

and Pezzola are rightly joined with Tarrio, Nordean, and Rehl, and, inter alia, judicial economy

counsels strongly in favor of trying these defendants together.

       WHEREFORE, and for good cause shown and any other reasons that this Court may

consider, the government consents to the relief sought in the Motion and asks that this Court

continue the trial until on or after December 12, 2022.


                                                       Respectfully submitted,

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